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 1   FRANNY A. FORSMAN
     Federal Public Defender
 2   State Bar No. 000014
     RACHEL M. KORENBLAT
 3   Assistant Federal Public Defender
     411 E. Bonneville Ave., Suite 250
 4   Las Vegas, Nevada 89101
     Tel: (702) 388-6577
 5   Fax: (702) 388-6261
 6   Attorney for Juan Arteaga-Rodriguez
 7
                                  UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
                                                    ***
10
11    UNITED STATES OF AMERICA,                         2:90-cr-00117-HDM-LRL

12                   Plaintiff,
                                                             STIPULATION TO VACATE
13    vs.                                               PRELIMINARY REVOCATION HEARING

14    JUAN ARTEAGA-RODRIGUEZ,                                           (First Request)

15                   Defendant.

16          IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden, United

17   States Attorney, and Sarah Griswold, Assistant United States Attorney, counsel for the United States

18   of America, and Franny A. Forsman, Federal Public Defender, and Rachel M. Korenblat, Assistant

19   Federal Public Defender, counsel for Juan Arteaga-Rodriguez, that the preliminary revocation

20   hearing currently scheduled for Friday, April 8, 2011 at 10:00 a.m., be VACATED.

21                  This Stipulation is entered into for the following reasons:

22          1.      Counsel for the defense met with Mr. Arteaga today at the Northern Southern

23   Detention Center and has discussed this case in further detail rendering the hearing is no longer

24   necessary. Mr. Arteaga has given permission to vacate the preliminary revocation hearing currently

25   scheduled for April 8, 2011 at 10:00 a.m

26          2.      The parties agree to the hearing being vacated.

27          3.      The defendant is incarcerated but does not object to the hearing being vacated.

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 1                   This is the first stipulation to vacate filed herein.
 2                   DATED: April 5, 2011.
 3
 4         FRANNY A. FORSMAN                                           DANIEL G. BOGDEN
           Federal Public Defender                                     United States Attorney
 5
 6
           /s/ Rachel M. Korenblat                                     /s/ Sarah Griswold
 7   By:                                                         By:
           RACHEL M. KORENBLAT,                                        SARAH GRISWOLD,
 8         Assistant Federal Public Defender                           Assistant United States Attorney
           Counsel for Juan Arteaga-Rodriguez                          Counsel for Plaintiff
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 1                                 UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3                                              ***
 4
      UNITED STATES OF AMERICA,
 5                                                    2:90-cr-00117-HDM -LRL-3
                    Plaintiff,
 6
      vs.                                                               ORDER
 7
      JUAN ARTEAGA-RODRIGUEZ,
 8
                    Defendant.
 9
10                 Based on the pending Stipulation of counsel, and good cause appearing,

11                 IT IS THEREFORE ORDERED that the preliminary revocation hearing in this matter

12   currently scheduled for April 8, 2011 at 10:00 a.m., be VACATED.

13
                             5th            April
14                 DATED            day of ___________, 2011.

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17                                              ____________________ _______________
                                                UNITED STATES MAGISTRATE JUDGE
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